    Appellate
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              Case: Case:
                    22-1409
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                                         010110777071
                                              15 Date Filed:
                                                       Date 12/02/2022
                                                             Filed: 12/02/2022
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                                  UNITED STATES COURT OF APPEALS
                                      FOR THE TENTH CIRCUIT

                    Entry of Appearance and Certificate of Interested Parties
 Alejandro Menocal, et al.

 v.                                                                Case No. 22-1409
 The Geo Group, Inc.

INSTRUCTIONS: COUNSEL FOR A PARTY MUST FORTHWITH EXECUTE AND FILE THIS FORM,
INDICATING METHOD(S) OF SERVICE ON ALL OTHER PARTIES. MULTIPLE COUNSEL APPEARING FOR
A PARTY OR PARTIES AND WHO SHARE THE SAME MAILING ADDRESS MAY ENTER THEIR
APPEARANCES ON THE SAME FORM BY EACH SIGNING INDIVIDUALLY.



         In accordance with 10th Cir. R. 46.1, the undersigned attorney(s) hereby appear as counsel for
____________________________________________________________________________________
Alejandro Menocal, et al.
                                           Party or Parties
_________________________________________________________________________,
Appellees                                                                  in the subject case(s).
                            Appellant/Petitioner or Appellee/Respondent

        Further, in accordance with 10th Cir. R. 46.1, the undersigned certify(ies) as follows: (Check one.)
         On the reverse of this form is a completed certificate of interested parties and/or attorneys not otherwise
         disclosed, who are now or have been interested in this litigation or any related proceeding. Specifically,
         counsel should not include in the certificate any attorney or party identified immediately above.
✔        There are no such parties, or any such parties have heretofore been disclosed to the court.

Adam L. Koshkin
_________________________________________                    ______________________________________________
Name of Counsel                                              Name of Counsel

___________________________________________                  ______________________________________________
Signature of Counsel                                         Signature of Counsel
One California Street, 12th Floor, San
Francisco, CA 94111 415-638-8817
___________________________________________                  ______________________________________________
Mailing Address and Telephone Number                         Mailing Address and Telephone Number

               AKoshkin@outtengolden.com
E-Mail Address ______________________________                E-Mail Address _________________________________


I hereby certify that a copy of this Entry of Appearance and Certificate of Interested Parties was served on

(please insert date)             12/2/2022
                                ___________________                               CM/ECF
                                                    via (state method of service) ______________________.


   All counsel of record
to __________________________________________                ______________________________________________
(See Fed. R. App. P. 25(b))                                  (Signature)



A-5 Entry of Appearance Form 10/09
 Appellate
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                       22-1409
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                              UNITED STATES COURT OF APPEALS
                                  FOR THE TENTH CIRCUIT

 Alejandro Menocal, et al.

 v.                                                       Case No. 22-1409
 The Geo Group, Inc.



                                     Certificate of Interested Parties




       The following are not direct parties in this appeal but do have some interest in or a relationship
with the litigation or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
entering an appearance in this court but who have appeared for any party in prior trial or administrative
proceedings, or in related proceedings, are noted below.

                                  (Attach additional pages if necessary.)




A-5 Entry of Appearance Form 10/09
